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 8
                                  IN THE UNITED STATES DISTRICT COURT
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                                     EASTERN DISTRICT OF CALIFORNIA
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11   UNITED STATES OF AMERICA,                            CASE NO. 2:19-CR-0107 KJM

12                                 Plaintiff,             ORDER GRANTING GOVERNMENT’S MOTION
                                                          TO DISMISS CHARGES AS TO MATTHEW
13                           v.                           HALL PURSUANT TO RULE 48(a) OF THE
                                                          FEDERAL RULES OF CRIMINAL PROCEDURE
14   MATTHEW HALL,

15                                 Defendant.

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18          Pursuant to Rule 48(a) of the Federal Rules of Criminal Procedure, and based upon the motion

19 filed by the United States and the attached Exhibit A, the Court finds it is in the interests of justice to

20 grant the government’s motion and, therefore, IT IS HEREBY ORDERED that the pending criminal

21 charges in Case No. 2:19-CR-0107 KJM against defendant Matthew Hall are hereby DISMISSED

22 without prejudice pursuant to Federal Rule of Criminal Procedure 48(a).

23          IT IS SO ORDERED.
24 DATED: October 21, 2019.

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26                                                                 UNITED STATES DISTRICT JUDGE

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